983 F.2d 1059
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Troy Anthony WEST, Petitioner-Appellant,v.Sewall B. SMITH;  Attorney General of the State of Maryland,Respondents-Appellees.
    No. 92-6608.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  November 24, 1992Decided:  December 30, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  M. J. Garbis, District Judge.  (CA-91-3100-MJG)
      Troy Anthony West, Appellant Pro Se.
      Sarah Elizabeth Page, Office of the Attorney General of Maryland, Baltimore, Maryland, for Appellees.
      D.Md.
      DISMISSED.
      Before NIEMEYER and HAMILTON, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Troy Anthony West seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  West v. Smith, No. CA-91-3100-MJG (D. Md. May 27, 1992).  We also deny West's motion for appointment of counsel.   See Whisenant v. Yuam, 739 F.2d 160 (4th Cir. 1984).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    